Case 2:15-cv-01673-JCM-GWF Document 14-1 Filed 01/25/16 Page 1 of 18

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Case 2:15-cv-01673-JCM-GWF Document 14-1 Filed 01/25/16 Page 2 of 18

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Case 2:15-cv-01673-JCM-GWF Document 14-1 Filed 01/25/16 Page 3 of 18

1/25/2016 Eric Dobberstein, Esq. - ADR Services, Inc.

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Eric Dobberstein, Esq.

Case Manager: Chelsea Mangel
Tel: (310) 201-0010 Ext. 137

EXPERIENCE AND AREAS OF EXPERTISE

Eric Dobberstein has served as an arbitrator in over 300 cases involving
construction, personal injury, commercial and real property disputes. He is a
member of the American Arbitration Association Commercial and Construction
Panels hearing insurance, commercial, and construction disputes. Mr.
Dobberstein has experience with complex, multi party cases, as well as fraud,
personal injury, products liability, premises liability and construction defect
cases. He is a member of the Eighth Judicial District Court Arbitration Program,
Arbitration Dispute Resolution Services, Nevada Panel Member and Pro Tempro
Judge with the Short Trial Program.

EDUCATION

University of Nevada at Las Vegas (BA, Criminal Justice-1985); Texas Southern University (JD-1988).
ALTERNATIVE DISPUTE RESOLUTION TRAINING

Short Trial Program Training 3/07, Arbitration Awards: Safeguarding, Deciding & Writing an Award, 1/07;
ACE: Chairing an Arbitration Panel, Las Vegas, 12/05; AAA Construction Arbitrator II Training, San Diego,
7/04; AAA Arbitrator II - Advanced Case Management, San Diego, 7/04; Arbitrator Update 2004; AAA
Arbitrator I Training - Fundamentals of the Arbitration Process, Los Angeles, 1/04; American Arbitration
Association Neutrals Arbitrator I Workshop in Los Angeles, 1/04; State of Nevada Arbitration Training, Las
Vegas, 1/92

PROFESSIONAL LICENSES

Admitted to the Bar: Nevada, 1989; U.S. District Court, District of Nevada, 1989; U.S. Court of Appeals,
Ninth District, 1990.

PROFESSIONAL ASSOCIATIONS

Nevada Bar Association (Southern Nevada Disciplinary Committee; Fee Dispute Committee), American Bar
Association, Nevada Justice Association, Clark County Bar Association, Member of the Eighth Judicial District
Court Arbitration Program, Arbitration Dispute Resolution Services, Nevada Panel Member, Pro Tempore

Judge for Short Trial Program with the Eighth Judicial District Court Arbitration Program and the Henderson
Chamber of Commerce.

MAIN AREAS OF SPECIALIZATION OR SUBJECT MATTER EXPERIENCE

http:/www.adrservices.org/neutrals/eric-dobberstein.php 1/3
Case 2:15-cv-01673-JCM-GWF Document 14-1 Filed 01/25/16 Page 4 of 18

1/25/2016 Eric Dobberstein, Esq. - ADR Services, Inc.

Mr. Dobberstein has been a licensed attorney in the state of Nevada since 1989. He has a general trial
practice consisting of construction, personal injury, and commercial issues. His firm also handles issues
involving corporations, LLCs and partnerships. Fifty percent of his practice involves construction law
matters, with projects ranging in value from $5,000 to $12 million. His recent significant construction
projects include Clark County School District projects consisting of new construction and renovation, City of
Henderson recreational center, local casino additions, numerous commercial private business centers, and
numerous pool and residential construction disputes. Mr. Dobberstein has represented both owners, prime
contractors, architects, subcontractors, material suppliers, bond companies, all involving mechanic's liens,
construction defects and bond claims. He has represented parties and arbitrated or mediated motor vehicle
accidents, premises liability and product fiability cases from $5,000 to $3 million.

REPRESENTED CLIENTS

Aardvark Pest Control, A/C For Less, Inc., Addison, AmeriTile, Bronco Construction, Builders Design Group,
Chaparral Electric, Coral Beach Pools, Courtesy Heating & Cooling, Desert Springs Pools & Spas, Exclusive
Lawn Maintenance, Evans Excavation, Destination Salon & Spa, Econ Appliance, Embassy Glass, Guy Evans
Construction, Hy-Bar Windows & Sales, Insulpro, JOM Enterprises, Masco Corporation, Monster Painting,
Moturis, Northern Nevada Heating & Air, NU U Unlimited, Pacific Custom Pools, Ryerson Concrete, The
Mechanical Company, TLV Construction, Toro Underground, Town & Country Mechanical, Trusted Home
Lending, Trustee Development, Monster Painting, Universal Safety Rail, Westar Fire Protection, and Wizard
One Pest Control.

Back to Top

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Case 2:15-cv-01673-JCM-GWF Document 14-1 Filed 01/25/16 Page 5of 18

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3/3
Case 2:15-cv-01673-JCM-GWF Document 14-1 Filed 01/25/16 Page 6 of 18

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Hon. Leonard I. Gang

Case Manager: Chelsea Mangel
Tel: (310) 201-0010 Ext. 137
E-Mail

Education

Certificate in Dispute Resolution from Straus Institute for Dispute Resolution at
Pepperdine University School of Law, 2003

Graduate Studies, National Judicial College, Reno, Nevada 1972

j.D., New York University School of Law, 1963

B.S., Cornell University School of Industrial and Labor Relations, 1960

Professional Experience

1963-1964 Law Clerk, Nevada Supreme Court

1965-1966 Deputy District Attorney, Clark County, Nevada

1967 Deputy Public Defender, Clark County, Nevada

1967-1971 Private practice of law

1971-1974 District Court Judge, Clark County, Nevada

1974-1992 Private practice of law, arbitration, mediation

1992-1994 Bar Counsel, State Bar of Nevada, served as Chief Counsel in charge of attorney
discipline and General Counsel to the Board of Governors

1994-2000 General Counsel and Executive Director, Nevada Commission on Judicial Discipline

2000 Dispute Resolution, Arbitration, and Mediation

Relevant Experience

CIVIL LAW

e Counseled clients in gaming, real estate, business, and corporate law

e Litigated construction and business related matters

e Handled purchases and sales of businesses, radio stations and cable TV companies
e Represented both management and labor in contract negotiation and labor relations

e Represented the State of Nevada Board of Health as independent counsel in regard to the low level
nuclear waste dump in Beatty, Nevada

GOVERNMENTAL LAW

e Represented clients in matters before Nevada regulatory agencies including the Gaming
Commission, Gaming Control Board and Public Service Commission

e Represented clients before county commissions and county planning commissions

« Represented clients as a lobbyist at the Nevada State Legislature

COURTROOM

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13
Case 2:15-cv-01673-JCM-GWF Document 14-1 Filed 01/25/16 Page 7 of 18

1/25/2016 Hon. Leonard I. Gang - ADR Services, Inc.

e Litigated cases in all courts of Nevada, including District Court of Nevada, Nevada Supreme Court,
United States District Court of Nevada and United States District Court of Appeals for the Ninth
Circuit

e Served as a prosecutor and lead defense counsel in capital cases

e Litigated complex business and construction cases that resulted in multi-million dollar awards

e Admitted to practice before the United States Supreme Court
JUDICIAL

e Appointed by Governor O'Callahan to the Eighth Judicial District Court bench in July 1971
e Elected District Court Judge in Clark County, Nevada in 1972
e Held court in many counties in the state of Nevada

« Designated by the Governor to fill a vacancy on the Nevada Supreme Court on an individual case
basis

ARBITRATION AND MEDIATION

e Selected as arbitrator and mediator in employee-management disputes, commercial, construction,
and personal injury cases

e Previously served as a mediator and panel member for complex cases for the American Arbitration
Association

e Settlement Judge, Nevada Supreme Court

e Panel Member, Court Annexed Mandatory Arbitration Program
LECTURER

e Lectured to attorneys at continuing legal education seminars on ethics and professional
responsibility, arbitration, mediation and criminal law

e Lectured at bar examination review course on commercial law
e Conducted seminars on arbitration, fact-finding and mediation

e Lectured at the National Academy of Law Ethics and Management
PHILANTHROPIC

e Member, Board of Trustees, Sierra Nevada College, Incline Village, Nevada, a fully accredited
liberal arts college; 1982-1992, Vice-Chairman and Secretary of the Board

e Founding Trustee, Vegas Verdes Clinic, North Las Vegas, Nevada, a federally funded clinic providing
health care to the underprivileged

e Organizer and past member of the Board of Directors, Las Vegas Symphony Society

e Past member, Master, Nevada Inns of Court
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Case 2:15-cv-01673-JCM-GWF Document 14-1 Filed 01/25/16 Page 8 of 18

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3/3
Case 2:15-cv-01673-JCM-GWF Document 14-1 Filed 01/25/16 Page 9 of 18

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Hon. Robert E. Gaston

Case Manager: Chelsea Mangel
Tel: (310) 201-0010 Ext. 137

E-Mail(>

Education

Bachelor of Arts - Baylor University

Master of Arts (Education) - California Western University
Doctorate of Education - University of Nevada Las Vegas
Juris Doctorate - California Western School of Law

Professional Experience

Teacher and School Principal - 16 years
Assemblyman, Nevada State Legislature - 4 years
Attorney -licensed in Nevada for 23 years

District Court Judge, Family Division - 12 years

¢ Domestic Court

e Guardianship Court

e Juvenile Court

e Abuse and Neglect Court
e Drug Court

e Truancy Court

e Adoption

Special Recognition

Peacemaker of the Year - Mediators of Southern Nevada
Man Of Year - Las Vegas Chamber of Commerce Presiding
Judge Family Division

Outstanding Person of the Year - TADC (Domestic Violence)

Innovations

Nationally recognized Teen Drug Court, First Drug Court in Nevada for Parents
Creation of a 24 hour, 7 days a week Emergency Protective Order
Instructor to the Nevada District Court Judges on Family Law - Yearly

Back to Top
http:/Avww.adrservices.org/neutrals/robert-gaston.php 12
Case 2:15-cv-01673-JCM-GWF Document 14-1 Filed 01/25/16 Page 10 of 18

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Case 2:15-cv-01673-JCM-GWF Document 14-1 Filed 01/25/16 Page 11 of 18

1/25/2016 John O'Reilly, Esq. - ADR Services, Inc.

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John O'Reilly, Esq.

Case Manager: Chelsea Mangel
Tel: (310) 201-0010 Ext. 137
E-Mail

Practice Summary

John F. O'Reilly is Chairman/CEO of the full service law firm, O'Reilly Law Group,
LLC. Mr. O'Reilly's over 30 years of experience as an attorney includes a broad
range of businesses, business transactions and business litigation including
numerous multi-million dollar lawsuits. His accounting and business background
are an asset to litigation clients as well as in business transactions and in
resolving business issues. In addition, his experience with the public accounting
firm of Ernst & Young, as Chairman of the Nevada Gaming Commission, as
Chairman/CEO of a New York Stock Exchange Company and as a member of
numerous boards of directors uniquely qualifies Mr. O'Reilly to address the
multitude of legal issues that arise in the business world.

Mr. O'Reilly's experience in numerous areas of law including hospitality, gaming, tax, construction,
insurance, labor, real estate, corporate and bankruptcy enables him to effectively lead the O'Reilly Law
Group team of lawyers in providing a full range of legal services to their clients.

Career Highlights

e Representation of numerous gaming, hospitality and entertainment companies including MGM Grand
Hotel and Casino, Mandalay Resort Group, CasaBlanca Hotel-Casino-Golf-Spa, Westward Ho Motel &
Casino, and EMI Music Publishing, as well as entertainers and athletes including Siegfried & Roy, MJJ
Productions (Michael Jackson), Olivia Newton-John, Fats Domino, Liberace Estate and Mike Tyson.

e Representation as lead counsel for various parties in complex multi-district litigation.
« Representation in Indian Courts of various persons, including tribal members and contract vendors.

e Representation of Del Webb Corporation, American West Homes, Lewis Homes, American Nevada
Corporation, and numerous other developers and contractors.

e Representation of Lake Las Vegas Resort, a $7 billion resort community involving development of
residential, hotel, casino, restaurant and retail properties, private lake, golf courses and related
entertainment facilities.

e Representation of various clients in mergers, acquisitions, purchases and sales of businesses and
business entities.

Professional Memberships

e American Trial Lawyers Association
e American Board of Trial Advocates
e Casino Management Association

« Commercial Law League of America

http:/Avww.adrservices.org/neutralsjohn-oreilly.php 1/3
Case 2:15-cv-01673-JCM-GWF Document 14-1 Filed 01/25/16 Page 12 of 18

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e International Association of Gaming Attorneys
e National Association of Industrial Office Parks
e Nevada Development Authority
e Nevada Taxpayers Association
e Nevada Trial Lawyers Association
e Southern Nevada Home Builders Association
e Urban Land Institute
e American Intellectual Property Law Association

e Nevada Police and Fire Emerald Society

Professional Activities

e Member, Community Board of Directors, Wells Fargo Bank Nevada, N.A.
e Member, Board of Directors, Sierra Pacific Resources

« Member, Board of Trustees, LoyolaMarymount University.

e Member, Board of Trustees, University of Nevada Las Vegas Foundation
e Member, Advisory Council, UNLV International Gaming Institute

e Member, Board of Directors, United Way of Southern Nevada

e Member, Advisory Board, Boys & Girls Clubs of Las Vegas

e Member, Advisory Board, Boy Scouts of America

e Member, Advisory Board, Catholic Community Services

e Past Chairman and Member, Board of Trustees, Las Vegas Chamber of Commerce and its influential
Government Affairs Committee

e Founding Chairman and Chairman Emeritus, Nevada Test Site Development Corporation
e Past Chairman, Nevada Gaming Commission

e Former Member, Nevada Gaming Policy Committee

e Past Chairman, Governor's Health Care Systems Review Committee

e Past President and Member, Board of Directors, Nevada Federal Credit Union

e Past President, Clark County Bar Association

e Former President, Clark County Bar Association's Past Presidents Association

e Past Editor, Clark County Bar Association Communiqué Magazine

e Past President, Board of Regents, Bishop Gorman High School

Bar Associations

American Bar Association
State Bar of Nevada

State Bar of Missouri

Clark County Bar Association

Court Admissions

Missouri

U.S. Court of Military Appeals
Nevada and U.S. District Court
District of Nevada

U.S. Court of Appeals, 9th Circuit
U.S. Supreme Court

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Case 2:15-cv-01673-JCM-GWF Document 14-1 Filed 01/25/16 Page 13 of 18

1/25/2016 John O'Reilly, Esq. - ADR Services, Inc.

U.S. Tax Court

Education

University of Nevada Las Vegas, cum laude, M.B.A., 1974
St. Louis University School of Law, cum laude, J.D., 1969
St. Louis University, B.S.C., 1967

Back to Top

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3/3
Case 2:15-cv-01673-JCM-GWF Document 14-1 Filed 01/25/16 Page 14 of 18

1/25/2016 Erwin Paul Richitt, Esq. - ADR Services, Inc.

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Erwin Paul Richitt, Esq.

Case Manager: Chelsea Mange!
Tel: (310) 201-0010 Ext. 137
E-Mail)

Professional Experience

2000 - present

Alternative Dispute Resolution, Limited to Alternative Dispute Resolution
cases. Presently active in the Court Mandated Arbitration, the Nevada Supreme
Court Settlement Judge Panel for the Short Trial Program. Conducted
arbitrations and mediations for private attorneys, as requested. Adjunct
Professor at the University of Phoenix teaching graduate courses in Conflict
Management and in several law related subjects.

1992 - 2000

Assistant Clinical Professor, UNLV, Taught graduate and undergraduate
courses in Environmental Law, Environmental Impact Analysis, Environmental Law & Policy, Land Use
Management, Environmental Policy and Decision-making and Pollution Control Technology. Principal
investigator for a Community Outreach project for the U.S. DOE. Member of Technical and Advisory
Review Boards for U.S. DOE, Nevada Operations Office, U.S. DOD, Nellis AFB, Boyd School of Law, UNLV,
and Community College of Southern Nevada. Part-time consultant with Professional Analysis Inc. (PAI)
for energy & environmental legal/regulatory issues. Acted as a facilitator for PAI at the request of DOE for
selected public meetings.

ps

1984 - 2000

Attorney. Civil litigation practice in Las Vegas, Nevada, primarily focused on personal medical malpractice,
also including family law and contract litigation (commercial contracts & construction defect). From February
1988 through May 1, 1991, served as a URESA, Family Support Master, sitting on the bench Monday
afternoons. During this time, hear more than 2000 cases. Began as one of the origina! Arbitrators in the
Nevada Bar and acted as an Arbitrator in the Court Annexed Arbitration Program, having conducted well
over 350 cases since the Program's inception. Has been an arbitrator/mediator for the State Bar Fee
Dispute Committee since late 1999.

1972 - 1984

Scientist/Manager/Attorney with the Office of Research & Development of the U.S. EPA, in Washington, D.C.,
acting as Special Technical Assistant to the Assistant Administrator for R&D for program
development, regulatory development and enforcement. Drafted selected Regulations for the Federal
Clean Water Act. Associate General Counsel for Bi-County Park & Planning Commission in Maryland,
providing legal counsel to the Commission and both County Boards and litigating land use and
environmental law issues for the Commission, Assistant Director of the Environmental Monitoring
Systems Laboratory in Las Vegas, Nevada, developing and implementing environmental monitoring
systems and applying these systems in support of specific requests from the various EPA Regional Offices.
These jobs reflect the overall types of experience throughout the 12+ years with the U.S. EPA and a local
land use planning agency.

1961 - 1972
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Case 2:15-cv-01673-JCM-GWF Document 14-1 Filed 01/25/16 Page 15 of 18

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Civilian engineer/scientist with various U.S. Navy Departments. Work included R&D engineering at a
leading Navy Weapons Laboratory, Systems Engineer for a Navy Submarine ASW missile and Systems
Manager for Submarine ASW Weapons Systems.

Education

1975 4J.D., Catholic University of America, Washington, D.C.

1961 _—_B.S., Aeronautical Engineering (Mechanical Minor), Catholic University of America, Washington, D.C.

Back to Top

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Case 2:15-cv-01673-JCM-GWF Document 14-1 Filed 01/25/16 Page 16 of 18

1/25/2016 Alexander Robertson IV, Esq. - ADR Services, Inc.

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Alexander Robertson IV, Esq.

Case Manager: Chelsea Mangel
Tel: (310) 201-0010 Ext. 137

E-Mails}

Alexander Robertson IV, Esq. has a distinguished reputation in construction
litigation in which he has represented both claimants and defendants for nearly
two decades. Known as a "straight shooter", he has achieved a reputation for
honesty, integrity and as someone who is able to quickly grasp complex
technical issues given his hands on experience in the construction industry.
These qualities make him the ideal choice when selecting a neutral for any
construction dispute.

Employment

Senior Partner, ROBERTSON & VICK, LLP

November 2002-present

Senior Partner of a multi-jurisdictional litigation practice that specializes in the representation of commercial
and residential owners, homeowner associations, contractors, design professionals, public entities, casinos
and hotels in construction defect, construction claims, real estate and toxic mold litigation

Managing Partner, ROBERTSON VICK & CAPELLA, LLP

July 2001-November 2002

Managing Partner of firm with a civil litigation practice that specialized in construction defect litigation,
construction claims, real estate and toxic mold claims representing consumers, building owners, public
entities and contractors.

Founding & Managing Partner, KNOPFLER & ROBERTSON, LLP

January 1993 - June 2001

Civil litigation practice that specialized in construction defect litigation, construction claims, real estate and
toxic mold claims representing consumers, building owners, public entities and contractors. Prior to 2000
firm specialized in construction defect litigation on behalf of contractors, insurers, developers,
subcontractors, design professionals and homeowners.

Founding Partner, NEGELE KNOPFLER PIERSON & ROBERTSON

March 1987 - December 1992

Founding partner in this civil litigation law firm that specialized in the defense of construction defect cases
and related insurance matters.

Assistant General Manager, ALEX ROBERTSON COMPANY GENERAL CONTRACTORS

Prior to 1986

Mr. Robertson's experience includes estimating, field foreman, superintendent and manager of the
Underground division for this $20 Million general construction company.

Education

Pepperdine University School of Law, Malibu, CA

http:/Avww.adrservices.org/neutrals/alexander-robertson.php 1/3
Case 2:15-cv-01673-JCM-GWF Document 14-1 Filed 01/25/16 Page 17 of 18

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Juris Doctor, May 1986
Honors: Moot Court Honor Board, Pepperdine University School of Law

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Pepperdine University, Malibu, CA
Bachelor of Science, Business Administration, December, 1982

Awards and Honors

« AV Rating Martindale-Hubbell Law Directory
e Presidential Award of Merit; Consumer Attorneys of California, November 2000

e Trench's Soldier Award, Consumer Attorneys of California, March 2000

Professional Qualifications

e Admitted to California Supreme Court, 1986

e Admitted to U.S. District Court, Central District, 1986

e Admitted to U.S. Claims Court, 1987

e Admitted to U.S. Court of Appeal, 9th Circuit, 1988

e Admitted to U.S. District Court, Northern District of California, 1989
e Admitted to U.S. District Court, Southern District of California, 1989
« Admitted to U.S. District Court, Eastern District of California, 1989
e Admitted to Colorado Supreme Court, 1997

e Admitted to Texas Supreme Court, 2000

e Admitted to Nevada Supreme Court, 2004

Professional Affiliations
« Indoor Environmental Institute, Member (Legal Subcommittee and Joint IICRC IEI Mold Remediation
Standard Committee), 2002 :

*« Consumer Attorneys of California (CAOC), Board of Governors, State Co-Chair Construction Defect
Committee (1999-2001)

e Consumer Attorneys Association of Los Angeles (CAALA)

e National Panel of Arbitrators, American Arbitration Association (Construction and Complex Case
Panels)

e Community Associations Institute (CAI), Amicus Curiae Team, 1998-2000

e California Association of Community Managers (CACM)

e American Bar Association (ABA), Construction Law Forum Committee (1986-1990)

e Los Angeles County Bar Association

« Associated General Contractors of California, Underground Contractors Committee (1986-1990)
e Engineering Contractors Association (1986-1993)

e Southern California Contractors Association (1987-1993)

e American Trial Lawyers Association

« The Beavers (an honorary organization in the heavy engineering/construction industry) 1982-1996)

Miscellaneous

Numerous media appearances, articles and lectures.
Back to Top

htto:/Avww.adrservices.org/neutrals/alexander-robertson.php

2/3
Case 2:15-cv-01673-JCM-GWF Document 14-1 Filed 01/25/16 Page 18 of 18

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